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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION
___________________________________
                                      §
In re                                 §    Chapter 11
                                      §
Alliance Farm and Ranch, LLC,         §    Case No. 25-30155
                                      §
              Debtor.                 §
___________________________________

                                  THE OSTRANDER’S
                        FIRST AMENDED WITNESS AND EXHIBIT LIST
                                  [Relates to ECF No. 29]

       Erik and Darla Ostrander (the “Ostranders”), by and through their undersigned counsel, hereby

file the following Witness and Exhibit List for the April 9, 2025, 2:00 p.m. hearing:

 Case No: 25-30155                             Name of Debtor: Alliance Farm and Ranch, LLC
 Adversary No: N/A

Judge: Hon. Alfredo R. Perez                 Hearing Date: April 9, 2025
Courtroom Deputy: Akeita House               Hearing Time: 2:00 p.m. CST
Witnesses:
   1. Erik C. Ostrander
   2. Len Walker
   3. Any witness necessary to rebut the
       evidence or testimony of any witness
       offered or designated by any other
       party but not reasonably anticipated.
   4. Any witness called or designated by
       any other party.
                                             Attorneys’ Name(s): Tres Gibbs, Samuel Pendergast
                                             Attorneys’ Phone: (713) 535-5500
                                             Nature of Proceeding: Hearing on the Ostranders’
                                             Emergency Motion to Dismiss (Docket No. 29)
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                                            EXHIBITS

Ex.#                 Description                   Offered   Objection   Admitted/   Disposition
                                                                           Not
                                                                         Admitted
 1     Promissory Note (GF# 2200122TW)
       between Alliance Farm and Ranch LLC
       (Maker) and Erik C. Ostrander and Darla
       Ostrander (Payees), dated April 1, 2022
 2     Deed of Trust (GF# 2200122TW)
       involving Alliance Farm and Ranch LLC
       (Grantor), Brent A. Lane (Trustee), and
       Erik C. Ostrander and Darla Ostrander
       (Beneficiaries), dated April 1, 2022
 3     Closing Statement (File No.
       2200122TW), including attachments,
       involving Alliance Farm and Ranch LLC
       (Borrower) and Erik C. Ostrander and
       Darla Ostrander (Sellers and Lenders),
       for the Property located at A0151 –
       Cartwright Matthew, Tract 1-A73 Acres,
       Montgomery County, 5450 Honea Egypt
       Road, Montgomery, TX 77316
 4     Affidavit of Posting, Filing, and Mailing
       Notice of Foreclosure Sale
       (DOC#2025001866 Pages 10), dated
       December 6, 2024, including
       attachments.
 5     Substitute Trustee’s Deed (DOC #
       2025002370), dated January 7, 2024,
       including attachments.
 6     Farm and Ranch Contract executed on
       February 27, 2025, by Erik C. Ostrander
       and Darla R. Ostrander (Sellers) and
       Nathan Milner (Buyer).
 7     United States Bankruptcy Court Southern
       District of Texas – Notice of Bankruptcy
       Filing – PACER.
 8     “Notice of Bankruptcy” filed by Alliance
       Farm & Ranch, LLC in the 457th Judicial
       District Court of Montgomery County,
       Texas (Cause No. 24-07-11639).
 9     Schedules filed by Alliance Farm &
       Ranch, LLC on April 4, 2025 (ECF No.
       34).
10     Any Exhibits designated by any other
       party.
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       The Ostranders reserve the right to use any exhibits presented by any other party and to use

exhibits not listed here for impeachment or rebuttal purposes at the hearing. The Ostranders also

reserve the right to supplement or amend this exhibit list any time prior to the hearing. The Ostranders

reserve the right to call any witness designated by any other party, as well as rebuttal witnesses.

Dated: April 9, 2025                          Respectfully submitted,

                                              COKINOS | YOUNG

                                              By:       /s/ Samuel T. Pendergast
                                                    Reagan H. “Tres” Gibbs, III
                                                    State Bar No. 24083068
                                                    Samuel T. Pendergast
                                                    State Bar No. 24133943
                                                    tgibbs@cokinoslaw.com
                                                    spendergast@cokinoslaw.com
                                                    1221 Lamar Street, 16th Floor
                                                    Houston, Texas 77010-3039
                                                    Tel.: (713) 535-5500
                                                    Fax: (713) 535-5533

                                                    Counsel for Erik and Darla Ostrander




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on April 9, 2025, a true and correct copy of the foregoing document was
served upon all parties via the Electronic Case Filing system for the United States Bankruptcy Code for
the Southern District of Texas.

 Timothy L. Wentworth                            Thaison Danny Hua
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 Houston, Texas 77002                            Houston, TX 77401
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 Noah E. Meek                                    United States Trustee
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                                                  /s/ Samuel T. Pendergast
                                            Samuel T. Pendergast




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